Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 1 of 73 Page ID
                                 #:1874




                   Exhibit 29
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 2 of 73 Page ID
                                 #:1875




                                                                        Exhibit 2
                                                                           Page 1
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 3 of 73 Page ID
                                 #:1876




                                                                        Exhibit 2
                                                                           Page 2
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 4 of 73 Page ID
                                 #:1877




                                                                        Exhibit 2
                                                                           Page 3
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 5 of 73 Page ID
                                 #:1878




                                                                        Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 6 of 73 Page ID
                                 #:1879




                                                                        Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 7 of 73 Page ID
                                 #:1880




                                                                        Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 8 of 73 Page ID
                                 #:1881




                                                                        Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 9 of 73 Page ID
                                 #:1882




                                                                        Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 10 of 73 Page ID
                                  #:1883




                                                                         Exhibit 2
                                                                            Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 11 of 73 Page ID
                                  #:1884




                                                                         Exhibit 2
                                                                           Page 1
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 12 of 73 Page ID
                                  #:1885




                                                                         Exhibit 2
                                                                           Page 11
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 13 of 73 Page ID
                                  #:1886




                                                                         Exhibit 2
                                                                           Page 12
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 14 of 73 Page ID
                                  #:1887




                                                                         Exhibit 2
                                                                           Page 13
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 15 of 73 Page ID
                                  #:1888




                                                                         Exhibit 2
                                                                           Page 1
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 16 of 73 Page ID
                                  #:1889




                                                                         Exhibit 2
                                                                           Page 1
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 17 of 73 Page ID
                                  #:1890




                                                                         Exhibit 2
                                                                           Page 1
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 18 of 73 Page ID
                                  #:1891




                                                                         Exhibit 2
                                                                           Page 1
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 19 of 73 Page ID
                                  #:1892




                                                                         Exhibit 2
                                                                           Page 1
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 20 of 73 Page ID
                                  #:1893




                                                                         Exhibit 2
                                                                           Page 1
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 21 of 73 Page ID
                                  #:1894




                                                                         Exhibit 2
                                                                           Page 2
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 22 of 73 Page ID
                                  #:1895




                                                                         Exhibit 2
                                                                           Page 21
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 23 of 73 Page ID
                                  #:1896




                                                                         Exhibit 2
                                                                           Page 22
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 24 of 73 Page ID
                                  #:1897




                                                                         Exhibit 2
                                                                           Page 23
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 25 of 73 Page ID
                                  #:1898




                                                                         Exhibit 2
                                                                           Page 2
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 26 of 73 Page ID
                                  #:1899




                                                                         Exhibit 2
                                                                           Page 2
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 27 of 73 Page ID
                                  #:1900




                                                                         Exhibit 2
                                                                           Page 2
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 28 of 73 Page ID
                                  #:1901




                                                                         Exhibit 2
                                                                           Page 2
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 29 of 73 Page ID
                                  #:1902




                                                                         Exhibit 2
                                                                           Page 2
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 30 of 73 Page ID
                                  #:1903




                                                                         Exhibit 2
                                                                           Page 2
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 31 of 73 Page ID
                                  #:1904




                                                                         Exhibit 2
                                                                           Page 3
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 32 of 73 Page ID
                                  #:1905




                                                                         Exhibit 2
                                                                           Page 31
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 33 of 73 Page ID
                                  #:1906




                                                                         Exhibit 2
                                                                           Page 32
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 34 of 73 Page ID
                                  #:1907




                                                                         Exhibit 2
                                                                           Page 33
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 35 of 73 Page ID
                                  #:1908




                                                                         Exhibit 2
                                                                           Page 3
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 36 of 73 Page ID
                                  #:1909




                                                                         Exhibit 2
                                                                           Page 3
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 37 of 73 Page ID
                                  #:1910




                                                                         Exhibit 2
                                                                           Page 3
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 38 of 73 Page ID
                                  #:1911




                                                                         Exhibit 2
                                                                           Page 3
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 39 of 73 Page ID
                                  #:1912




                                                                         Exhibit 2
                                                                           Page 3
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 40 of 73 Page ID
                                  #:1913




                                                                         Exhibit 2
                                                                           Page 3
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 41 of 73 Page ID
                                  #:1914




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 42 of 73 Page ID
                                  #:1915




                                                                         Exhibit 2
                                                                           Page 1
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 43 of 73 Page ID
                                  #:1916




                                                                         Exhibit 2
                                                                           Page 2
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 44 of 73 Page ID
                                  #:1917




                                                                         Exhibit 2
                                                                           Page 3
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 45 of 73 Page ID
                                  #:1918




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 46 of 73 Page ID
                                  #:1919




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 47 of 73 Page ID
                                  #:1920




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 48 of 73 Page ID
                                  #:1921




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 49 of 73 Page ID
                                  #:1922




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 50 of 73 Page ID
                                  #:1923




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 51 of 73 Page ID
                                  #:1924




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 52 of 73 Page ID
                                  #:1925




                                                                         Exhibit 2
                                                                           Page 1
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 53 of 73 Page ID
                                  #:1926




                                                                         Exhibit 2
                                                                           Page 2
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 54 of 73 Page ID
                                  #:1927




                                                                         Exhibit 2
                                                                           Page 3
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 55 of 73 Page ID
                                  #:1928




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 56 of 73 Page ID
                                  #:1929




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 57 of 73 Page ID
                                  #:1930




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 58 of 73 Page ID
                                  #:1931




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 59 of 73 Page ID
                                  #:1932




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 60 of 73 Page ID
                                  #:1933




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 61 of 73 Page ID
                                  #:1934




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 62 of 73 Page ID
                                  #:1935




                                                                         Exhibit 2
                                                                           Page 1
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 63 of 73 Page ID
                                  #:1936




                                                                         Exhibit 2
                                                                           Page 2
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 64 of 73 Page ID
                                  #:1937




                                                                         Exhibit 2
                                                                           Page 3
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 65 of 73 Page ID
                                  #:1938




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 66 of 73 Page ID
                                  #:1939




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 67 of 73 Page ID
                                  #:1940




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 68 of 73 Page ID
                                  #:1941




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 69 of 73 Page ID
                                  #:1942




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 70 of 73 Page ID
                                  #:1943




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 71 of 73 Page ID
                                  #:1944




                                                                         Exhibit 2
                                                                           Page
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 72 of 73 Page ID
                                  #:1945




                                                                         Exhibit 2
                                                                           Page 1
Case 2:21-cv-04758-JVS-JDE Document 38-4 Filed 03/24/22 Page 73 of 73 Page ID
                                  #:1946




                                                                         Exhibit 2
                                                                           Page 2
